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 5
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 7
 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10
      EDMOND NEAL,                              Case No.:
11
                   Plaintiff,                   COMPLAINT FOR INJUNCTIVE
12                                              RELIEF AND DAMAGES FOR DENIAL
            vs.                                 OF CIVIL RIGHTS OF A DISABLED
13                                              PERSON IN VIOLATIONS OF
14                                              1. AMERICANS WITH DISABILITIES
      PHILLIPS BROS. HOLDINGS LLC; and          ACT, 42 U.S.C. §12131 et seq.;
15
      DOES 1 to 10,                             2. CALIFORNIA’S UNRUH CIVIL
16                                              RIGHTS ACT;
                   Defendants.
17                                              3. CALIFORNIA’S DISABLED
                                                PERSONS ACT;
18
                                                4. CALIFORNIA HEALTH & SAFETY
19                                              CODE;
20                                              5. NEGLIGENCE
21
22
23          Plaintiff EDMOND NEAL (“Plaintiff”) complains of Defendants PHILLIPS
24    BROS. HOLDINGS LLC; and DOES 1 to 10 (“Defendants”) and alleges as follows:
25    //
26    //
27    //
28    //


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 1                                              PARTIES
 2             1.   Plaintiff is a California resident with a physical disability. Plaintiff is an
 3    amputee below his right knee and is substantially limited in his ability to walk. Plaintiff
 4    requires the use of a wheelchair at all times when traveling in public.
 5             2.   Defendants are, or were at the time of the incident, the real property owners,
 6    business operators, lessors and/or lessees of the real property for a clothing store
 7    (“Business”) located at or about 130 N. La Brea Ave., Los Angeles, California.
 8             3.   The true names and capacities, whether individual, corporate, associate or
 9    otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
10    who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
11    Court to amend this Complaint when the true names and capacities have been
12    ascertained. Plaintiff is informed and believes, and, based thereon, alleges that each such
13    fictitiously named Defendants are responsible in some manner, and therefore, liable to
14    Plaintiff for the acts herein alleged.
15             4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
16    times, each of the Defendants was the agent, employee, or alter-ego of each of the other
17    Defendants, and/or was acting in concert with each of the other Defendants, and in doing
18    the things alleged herein was acting with the knowledge and consent of the other
19    Defendants and within the course and scope of such agency or employment relationship.
20             5.   Whenever and wherever reference is made in this Complaint to any act or
21    failure to act by a defendant or Defendants, such allegations and references shall also be
22    deemed to mean the acts and failures to act of each Defendant acting individually, jointly
23    and severally.
24                                  JURISDICTION AND VENUE
25             6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
26    1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
27    seq.).
28




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 1          7.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 2    arising from the same nucleus of operating facts, are also brought under California law,
 3    including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4    54, 54., 54.3 and 55.
 5          8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6          9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 7    property which is the subject of this action is located in this district, Los Angeles County,
 8    California, and that all actions complained of herein take place in this district.
 9                                      FACTUAL ALLEGATIONS
10          10.    In or about September of 2023, Plaintiff went to the Business.
11          11.    The Business is a clothing store business establishment, open to the public,
12    and is a place of public accommodation that affects commerce through its operation.
13    Defendants provide parking spaces for customers.
14          12.    While attempting to enter the Business during each visit, Plaintiff personally
15    encountered a number of barriers that interfered with his ability to use and enjoy the
16    goods, services, privileges, and accommodations offered at the Business.
17          13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
18    included, but were not limited to, the following:
19                 a.     Defendants failed to comply with the federal and state standards for
20                        the parking space designated for persons with disabilities. Defendants
21                        failed to post required signage such as “Van Accessible,” and
22                        “Minimum Fine $250”.
23                 b.     Defendants failed to comply with the federal and state standards for
24                        the parking space designated for persons with disabilities. Defendants
25                        failed to provide proper van accessible space designated for the
26                        persons with disabilities as there were no “NO PARKING” markings
27                        painted on the surface of the access aisle.
28




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 1                 c.     Defendants failed to maintain the parking space designated for
 2                        persons with disabilities to comply with the federal and state
 3                        standards. Defendants failed to maintain the mark on the space with
 4                        the International Symbol of Accessibility, resulting in the paint
 5                        becoming severely deteriorated, hindering visibility.
 6                 d.     Defendants failed to maintain the parking space designated for
 7                        persons with disabilities to comply with the federal and state
 8                        standards. Defendants failed to maintain the blue lines painted on the
 9                        ground as required, resulting in the markings becoming severely
10                        deteriorated, hindering visibility.
11          14.    These barriers and conditions denied Plaintiff full and equal access to the
12    Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
13    patronize the Business; however, Plaintiff is deterred from visiting the Business because
14    his knowledge of these violations prevents him from returning until the barriers are
15    removed.
16          15.    Based on the violations, Plaintiff alleges, on information and belief, that
17    there are additional barriers to accessibility at the Business after further site inspection.
18    Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
19    Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
20          16.    In addition, Plaintiff alleges, on information and belief, that Defendants
21    knew that particular barriers render the Business inaccessible, violate state and federal
22    law, and interfere with access for the physically disabled.
23          17.    At all relevant times, Defendants had and still have control and dominion
24    over the conditions at this location and had and still have the financial resources to
25    remove these barriers without much difficulty or expenses to make the Business
26    accessible to the physically disabled in compliance with ADDAG and Title 24
27    regulations. Defendants have not removed such barriers and have not modified the
28    Business to conform to accessibility regulations.



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 1                                     FIRST CAUSE OF ACTION
 2           VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
 3          18.    Plaintiff incorporates by reference each of the allegations in all prior
 4    paragraphs in this complaint.
 5          19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
 6    shall be discriminated against on the basis of disability in the full and equal enjoyment of
 7    the goods, services, facilities, privileges, advantages, or accommodations of any place of
 8    public accommodation by any person who owns, leases, or leases to, or operates a place
 9    of public accommodation. See 42 U.S.C. § 12182(a).
10          20.    Discrimination, inter alia, includes:
11                 a.    A failure to make reasonable modification in policies, practices, or
12                       procedures, when such modifications are necessary to afford such
13                       goods, services, facilities, privileges, advantages, or accommodations
14                       to individuals with disabilities, unless the entity can demonstrate that
15                       making such modifications would fundamentally alter the nature of
16                       such goods, services, facilities, privileges, advantages, or
17                       accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
18                 b.    A failure to take such steps as may be necessary to ensure that no
19                       individual with a disability is excluded, denied services, segregated or
20                       otherwise treated differently than other individuals because of the
21                       absence of auxiliary aids and services, unless the entity can
22                       demonstrate that taking such steps would fundamentally alter the
23                       nature of the good, service, facility, privilege, advantage, or
24                       accommodation being offered or would result in an undue burden. 42
25                       U.S.C. § 12182(b)(2)(A)(iii).
26                 c.    A failure to remove architectural barriers, and communication barriers
27                       that are structural in nature, in existing facilities, and transportation
28                       barriers in existing vehicles and rail passenger cars used by an



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 1                        establishment for transporting individuals (not including barriers that
 2                        can only be removed through the retrofitting of vehicles or rail
 3                        passenger cars by the installation of a hydraulic or other lift), where
 4                        such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
 5                 d.     A failure to make alterations in such a manner that, to the maximum
 6                        extent feasible, the altered portions of the facility are readily
 7                        accessible to and usable by individuals with disabilities, including
 8                        individuals who use wheelchairs or to ensure that, to the maximum
 9                        extent feasible, the path of travel to the altered area and the
10                        bathrooms, telephones, and drinking fountains serving the altered
11                        area, are readily accessible to and usable by individuals with
12                        disabilities where such alterations to the path or travel or the
13                        bathrooms, telephones, and drinking fountains serving the altered area
14                        are not disproportionate to the overall alterations in terms of cost and
15                        scope. 42 U.S.C. § 12183(a)(2).
16          21.    Where parking spaces are provided, accessible parking spaces shall be
17    provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
18    eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
19    (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
20    Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
21    be a van accessible parking space. 2010 ADA Standards § 208.2.4.
22          22.    Under the ADA, the method and color of marking are to be addressed by
23    State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
24    Building Code (“CBC”), the parking space identification signs shall include the
25    International Symbol of Accessibility. Parking identification signs shall be reflectorized
26    with a minimum area of 70 square inches. Additional language or an additional sign
27    below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
28    parking space identification sign shall be permanently posted immediately adjacent and



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 1    visible from each parking space, shall be located with its centerline a maximum of 12
 2    inches from the centerline of the parking space and may be posted on a wall at the
 3    interior end of the parking space. See CBC § 11B-502.6, et seq.
 4          23.    Moreover, an additional sign shall be posted either in a conspicuous place at
 5    each entrance to an off-street parking facility or immediately adjacent to on-site
 6    accessible parking and visible from each parking space. The additional sign shall not be
 7    less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
 8    letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
 9    designated accessible spaces not displaying distinguishing placards or special license
10    plates issued for persons with disabilities will be towed always at the owner’s expense…”
11    See CBC § 11B-502.8, et seq.
12          24.    Here, Defendants failed to provide the signs stating, “Minimum Fine $250”
13    and “Van Accessible.”
14          25.    For the parking spaces, access aisles shall be marked with a blue painted
15    borderline around their perimeter. The area within the blue borderlines shall be marked
16    with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
17    with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
18    be painted on the surface within each access aisle in white letters a minimum of 12 inches
19    (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
20    11B-502.3.3.
21          26.    Here, Defendants failed to provide a proper access aisle as there were no
22    “NO PARKING” markings painted on the parking surface. Additionally, the blue lines
23    painted on the parking surface were poorly maintained, resulting in the markings
24    becoming severely deteriorated, hindering visibility.
25          27.    The surface of each accessible car and van space shall have surface
26    identification complying with either of the following options: The outline of a profile
27    view of a wheelchair with occupant in white on a blue background a minimum 36” wide
28    by 36” high (914 mm x 914 mm). The centerline of the profile view shall be a maximum



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 1    of 6 inches (152 mm) from the centerline of the parking space, its sides parallel to the
 2    length of the parking space and its lower side or corner aligned with the end of the
 3    parking space length or by outlining or painting the parking space in blue and outlining
 4    on the ground in white or a suitable contrasting color a profile view of a wheel chair with
 5    occupant. See CBC § 11B-502.6.4, et seq.
 6          28.      Here, Defendants failed to maintain the paint of the International Symbol of
 7    Accessibility on the surface as required, resulting in the markings becoming severely
 8    deteriorated, hindering visibility.
 9          29.      A public accommodation shall maintain in operable working condition those
10    features of facilities and equipment that are required to be readily accessible to and usable
11    by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
12          30.      By failing to maintain the facility to be readily accessible and usable by
13    Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
14    regulations.
15          31.      The Business has denied and continues to deny full and equal access to
16    Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
17    discriminated against due to the lack of accessible facilities, and therefore, seeks
18    injunctive relief to alter facilities to make such facilities readily accessible to and usable
19    by individuals with disabilities.
20                                  SECOND CAUSE OF ACTION
21                      VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
22          32.      Plaintiff incorporates by reference each of the allegations in all prior
23    paragraphs in this complaint.
24          33.      California Civil Code § 51 states, “All persons within the jurisdiction of this
25    state are free and equal, and no matter what their sex, race, color, religion, ancestry,
26    national origin, disability, medical condition, genetic information, marital status, sexual
27    orientation, citizenship, primary language, or immigration status are entitled to the full
28




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 1    and equal accommodations, advantages, facilities, privileges, or services in all business
 2    establishments of every kind whatsoever.”
 3          34.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
 4    or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
 5    for each and every offense for the actual damages, and any amount that may be
 6    determined by a jury, or a court sitting without a jury, up to a maximum of three times the
 7    amount of actual damage but in no case less than four thousand dollars ($4,000) and any
 8    attorney’s fees that may be determined by the court in addition thereto, suffered by any
 9    person denied the rights provided in Section 51, 51.5, or 51.6.
10          35.    California Civil Code § 51(f) specifies, “a violation of the right of any
11    individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
12    shall also constitute a violation of this section.”
13          36.    The actions and omissions of Defendants alleged herein constitute a denial
14    of full and equal accommodation, advantages, facilities, privileges, or services by
15    physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
16    Defendants have discriminated against Plaintiff in violation of California Civil Code §§
17    51 and 52.
18          37.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
19    difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
20    damages as specified in California Civil Code §55.56(a)-(c).
21                                   THIRD CAUSE OF ACTION
22                 VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
23          38.    Plaintiff incorporates by reference each of the allegations in all prior
24    paragraphs in this complaint.
25          39.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
26    entitled to full and equal access, as other members of the general public, to
27    accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
28    and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,



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 1     railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
 2     of transportation (whether private, public, franchised, licensed, contracted, or otherwise
 3     provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
 4     places of public accommodations, amusement, or resort, and other places in which the
 5     general public is invited, subject only to the conditions and limitations established by
 6     law, or state or federal regulation, and applicable alike to all persons.
 7           40.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
 8     corporation who denies or interferes with admittance to or enjoyment of public facilities
 9     as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
10     individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
11     the actual damages, and any amount as may be determined by a jury, or a court sitting
12     without a jury, up to a maximum of three times the amount of actual damages but in no
13     case less than one thousand dollars ($1,000) and any attorney’s fees that may be
14     determined by the court in addition thereto, suffered by any person denied the rights
15     provided in Section 54, 54.1, and 54.2.
16           41.    California Civil Code § 54(d) specifies, “a violation of the right of an
17     individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
18     constitute a violation of this section, and nothing in this section shall be construed to limit
19     the access of any person in violation of that act.
20           42.    The actions and omissions of Defendants alleged herein constitute a denial
21     of full and equal accommodation, advantages, and facilities by physically disabled
22     persons within the meaning of California Civil Code § 54. Defendants have
23     discriminated against Plaintiff in violation of California Civil Code § 54.
24           43.    The violations of the California Disabled Persons Act caused Plaintiff to
25     experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
26     statutory damages as specified in California Civil Code §55.56(a)-(c).
27                                  FOURTH CAUSE OF ACTION
28                  CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.



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 1           44.    Plaintiff incorporates by reference each of the allegations in all prior
 2     paragraphs in this complaint.
 3           45.    Plaintiff and other similar physically disabled persons who require the use of
 4     a wheelchair are unable to use public facilities on a “full and equal” basis unless each
 5     such facility is in compliance with the provisions of California Health & Safety Code §
 6     19955 et seq. Plaintiff is a member of the public whose rights are protected by the
 7     provisions of California Health & Safety Code § 19955 et seq.
 8           46.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
 9     that public accommodations or facilities constructed in this state with private funds
10     adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
11     Title 1 of the Government Code. The code relating to such public accommodations also
12     require that “when sanitary facilities are made available for the public, clients, or
13     employees in these stations, centers, or buildings, they shall be made available for
14     persons with disabilities.
15           47.    Title II of the ADA holds as a “general rule” that no individual shall be
16     discriminated against on the basis of disability in the full and equal enjoyment of goods
17     (or use), services, facilities, privileges, and accommodations offered by any person who
18     owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
19     Further, each and every violation of the ADA also constitutes a separate and distinct
20     violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
21     award of damages and injunctive relief pursuant to California law, including but not
22     limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
23                                     FIFTH CAUSE OF ACTION
24                                           NEGLIGENCE
25           48.    Plaintiff incorporates by reference each of the allegations in all prior
26     paragraphs in this complaint.
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 1            49.    Defendants have a general duty and a duty under the ADA, Unruh Civil
 2     Rights Act and California Disabled Persons Act to provide safe and accessible facilities
 3     to the Plaintiff.
 4            50.    Defendants breached their duty of care by violating the provisions of ADA,
 5     Unruh Civil Rights Act and California Disabled Persons Act.
 6            51.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
 7     has suffered damages.
 8                                      PRAYER FOR RELIEF
 9            WHEREFORE, Plaintiff respectfully prays for relief and judgment against
10     Defendants as follows:
11            1.     For preliminary and permanent injunction directing Defendants to comply
12     with the Americans with Disability Act and the Unruh Civil Rights Act;
13            2.     Award of all appropriate damages, including but not limited to statutory
14     damages, general damages and treble damages in amounts, according to proof;
15            3.     Award of all reasonable restitution for Defendants’ unfair competition
16     practices;
17            4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
18     action;
19            5.     Prejudgment interest pursuant to California Civil Code § 3291; and
20            6.     Such other and further relief as the Court deems just and proper.
21                                 DEMAND FOR TRIAL BY JURY
22            Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
23     demands a trial by jury on all issues so triable.
24
25     Dated: December 18, 2023                       SO. CAL. EQUAL ACCESS GROUP
26
27                                             By:    _/s/ Jason J. Kim___________
                                                      Jason J. Kim, Esq.
28                                                    Attorneys for Plaintiff



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